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                                                        October 19, 2020

Via ECF

                                                      MEMO ENDORSED
The Honorable Katherine Polk Failla
United States District Judge for the
Southern District of New York
40 Foley Square
New York, New York 10007

        Re:     Sanayi Beckles-Canton v. Lutheran Social Services of New York., Inc.
                Docket No.: 20-cv-04379-KPF

Dear Judge Failla:

         We represent Plaintiff Sanayi Beckles-Canton in this lawsuit brought under the anti-
retaliation provisions of the False Claims Act, 31 U.S.C. § 3703(h), against Defendant Lutheran
Social Services of New York, Inc. On September 24, 2020, Defendant filed its motion to dismiss,
and pursuant to the Court’s August 21, 2020 Order, Plaintiff’s opposition is due by October 23,
2020. ECF 14, 16-17. In light of several conflicts that the undersigned has in other matters, we
write now - - with Defendant’s consent - - to request a two-week extension to November 6, 2020,
for Plaintiff to file her opposition. This is Plaintiff’s first request for an extension, and if granted,
Defendant’s reply will be adjourned to November 20, 2020, with no other deadlines in this matter
impacted.

        We thank the Court for its time and attention to this matter.

                                                        Respectfully submitted,

                                                        /s/ Caitlin Duffy
                                                        Caitlin Duffy, Esq.
                                                           For the Firm
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Application GRANTED.

Dated:    October 19, 2020             SO ORDERED.
          New York, New York



                                       HON. KATHERINE POLK FAILLA
                                       UNITED STATES DISTRICT JUDGE
